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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

Michael Munger,                             )
                                            )
            Plaintiff, on behalf of himself )
            And others similarly situated,  ) Case No. 16-cv-11008
                                            )
            Plaintiff,                      ) Judge Laurie J. Michelson
                                            )
v.                                          )
                                            )
Financial Credit Service, Inc., d/b/a Asset )
Recovery Associates, Inc. ("ARA, Inc.")     )
                                            )
            Defendants.                     )
__________________________________________________________________

        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE
                 AND WITHOUT COSTS OR FEES

      This matter having come before the Court by Stipulation of the Parties

(Docket No. 32), the Court having reviewed this Stipulation, and the Court being

otherwise fully advised in the matter;

      IT IS HEREBY ORDERED that this matter is hereby dismissed with

prejudice and without costs to the parties.

             It is so ORDERED.

                                                s/Laurie J. Michelson
                                                LAURIE J. MICHELSON
Dated: March 9, 2017                            U.S. DISTRICT JUDGE
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We Stipulate and Agree to Entry of this Order:

Michael Munger                                Financial Credit Service, Inc.,

By: s/Michelle Vocht                          By: s/John P. Ryan
Michelle Vocht                                John P. Ryan
One of his Attorneys                          One of Its Attorneys
Roy, Shecter & Vocht, P.C.                    Hinshaw & Culbertson LLP
707 S. Eton Street                            222 N. LaSalle, Suite 300
Birmingham, MI 48304                          Chicago, IL 60601
(248) 540-7660                                312-704-3000
vocht@rsmv.com                                jryan@hinshawlaw.com


/s/ Sean R. O’Mara                            /s/ Nancy K. Chinonis
Sean R. O'Mara                                Nancy Chinonis
O'Mara Law Firm PC                            Cline, Cline & Griffin, P.C.
21929 E. Nine Mile Road                       503 S. Saginaw, Suite 1000
St. Clair Shores, MI 48080                    Flint, MI 48502
(586) 200-6404                                810-232-3141
seanrob3@gmail.com                            nchinonis@ccglawyers.com
For Plaintiff                                 Local Counsel for Defendant

/s/ David S. Parnell
David Scott Parnell
The Parnell Firm, PLLC
21929 E. Nine Mile Road
Saint Clair Shores, MI 48080
586-445-0110
David@ParnellFirm.com
For Plaintiff




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